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10                       UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                               SOUTHERN DIVISION
13
     STEVEN RUPP, et al.,                     Case No.: 8:17-cv-00746-JLS-JDE
14
15                            Plaintiffs,     JOINT STIPULATION AND
                                              REQUEST TO SET BRIEFING
16                vs.                         AND HEARING SCHEDULE FOR
                                              CROSS-MOTIONS FOR
17   XAVIER BECERRA, in his official          SUMMARY JUDGMENT
     capacity as Attorney General of the
18   State of California,
                                              Honorable Josephine L. Staton
19                            Defendant.
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               Joint Stip. Re Briefing and Hearing Schedule (8:17-cv-00745-JLS-JDE)
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 1                                     INTRODUCTION
 2              Pursuant to Local Rule 7-1, the parties, Plaintiffs Steven Rupp, Steven
 3   Dember, Cheryl Johnson, Michael Jones, Christopher Seifert, Alfonso Valencia,
 4   Troy Willis, Dennis Martin, and California Rifle & Pistol Association,
 5   Incorporated (collectively “Plaintiffs”) and Defendant Xavier Becerra, in his
 6   official capacity as Attorney General of the State of California (“Defendant”)
 7   (collectively, the “Parties”), through their respective attorneys of record, hereby
 8   request that the Court enter the stipulated briefing and hearing schedule for the
 9   Parties’ cross-motions for summary judgment, as set forth herein.
10                       RECITALS AND GROUNDS FOR RELIEF
11            WHEREAS, the Court has set March 25, 2019, as the last day to file motions
12   (excluding Daubert motions and all other motions in limine), Dkt. No. 70;
13            WHEREAS, both Parties expect to file motions for summary judgment on
14   March 25, 2019;
15            WHEREAS, the Parties have stipulated to a briefing and hearing schedule
16   that will provide them sufficient time to respond to each other’s motions and that
17   will accommodate the schedules of their respective counsel;
18            WHEREAS, the stipulated schedule would not alter the date of any event or
19   deadline already fixed by Court order or progress of the case; and
20            WHEREAS, for these reasons, good cause exists to adopt the briefing and
21   hearing schedule as stipulated by the Parties;
22            THE PARTIES HEREBY STIPULATE, AGREE, AND REQUEST:
23            That the Court enter the following briefing schedule for the Parties’ cross-
24   summary judgment motions:
25            Motion and opening brief:                     March 25, 2019
              Opposition brief:                             May 2, 2019
26            Reply brief:                                  May 17, 2019
27            Hearing:                                      May 31, 2019 at 10:30 a.m.1
28   1
         Or as soon thereafter as the matter may be heard.
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                   Joint Stip. Re Briefing and Hearing Schedule (8:17-cv-00745-JLS-JDE)
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 1             Accordingly, the Parties request that the Court issue the attached Proposed
 2   Order granting the stipulation on the briefing and hearing schedule described above.
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 4                                                 Respectfully Submitted,
     Dated: February 20, 2019                      XAVIER BECERRA
 5
                                                   ATTORNEY GENERAL OF CALIFORNIA
 6
                                                   /s/   Peter H. chang
 7
                                                   Peter H. Chang
 8                                                 Attorneys for Defendant
 9
10   Dated: February 20, 2019                      MICHEL & ASSOCIATES, P.C.
11
                                                   /s/ Sean A. Brady (with approval)
12                                                 Sean A. Brady
13                                                 Counsel for Plaintiffs

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15
16                             Attestation of Concurrence in Filing
17             I, Peter H. Chang, am the ECF user whose ID and password are being
18   used to file the foregoing Joint Stipulation and Request to Set Briefing and
19   Hearing Schedule for Cross-Motions for Summary Judgment. Pursuant to Local
20   Rule 5-4.3.4(a)(2), I hereby attest that all signatories listed above, and on whose
21   behalf this filing is submitted, concur in the filings content and have authorized
22   the filing.
23
     Dated: February 20, 2019                             /s/   Peter H. Chang
24                                                        Peter H. Chang
                                                          Counsel for Defendant
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                   Joint Stip. Re Briefing and Hearing Schedule (8:17-cv-00745-JLS-JDE)
